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                          UNITED STATES DISTRICT cou
                      FOR THE NORTHERN DISTRICT' OF ILLINOIS
                                EASTERN DIVISION


  MARY PRZYTULA and BRAD BREDE, on
  behalf of themselves and all others similarly
  situated,
                                                        No. 17 (.Iv. 5124
                           Plaintiffs,

            V.


   I3ED 13ATH & I3EYOND INC.,

                           Defendant.



                             DECLARATION OF DEBBIE I'RZYBOCKI

       1, Debbie Przybocki, based on my personal knowledge of the facts stated herein. testify

by Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testily to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       Z.        All of the statements in this Declaration are true and accurate to the best   of my
knowledge.

       3.        The facts set forth in this Declaration are based on my own personal knowledge.

       4.        I became employed by Bed Bath and Beyond Inc. ("13B13") in 1993 as a

Department Manager I was then promoted to District Human Resources Manager in 1997. and

again promoted to a Regional Human Resources Manager in 2002. Presently. 1 am the Regional

Director of Human Resources for the Southeast Region and have served in that role since 2007.

The Southeast Region includes stores in Alabama, Florida. Georgia. Illinois. Indiana. Kentucky.




                                                  1
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Mississippi, Missouri, Ohio, South Carolina. Tennessee. and in Puerto Rico. There are currently

192 stores in my total Region.

       5.      One of the Plaintiffs in this action. Johnny Mitchell. worked in my stores during

his time as an Assistant Store Manager.

       6.      When Assistant Store Managers warn or discipline associates. they must do so in

writing, and copies of the same are maintained in the personnel files of the associates that receive

the warning or discipline. Attached hereto as Exhibit 1 are true and accurate copies of documents

from various associates' personnel files of Johnny Mitchell's warning and disciplining           or
associates.

       7.      Assistant Store Managers are also required to complete performance reviews for

the associates they supervise. Copies of these performance reviews are also maintained in the

personnel files of the associates that receive the performance reviews. Attached hereto as Exhibit

2 are true and accurate copies from various associates' personnel files of performance reviews

conducted by Johnny Mitchell.

        8.     When Assistant Store Managers are terminated. Store Managers usually document

the termination and a copy of the termination documents are maintained in the Assistant Store

Manager's personnel file. Johnny Mitchell was terminated Ibr creating fraudulent returns and

stealing money from a customer's wallet that was left in a safe. True and accurate copies of the

termination related documents for Johnny Mitchell are attached hereto as Exhibit 3.




        I declare under penalty of perjury that the foregoing is true and correct.
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              ,
Executed this IS day of December, 2017.



                                           cGGie Przybocki
                                          Regional Director o 1-I uman Resources
                                          Bed Bath and Beyond Inc.
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                      EXHIBIT 1
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                                           ASSOCIATE DISCIPLINARY NOTICE
                       REDACTED
 Associate's Name                                                            Date:   L-11''     I


 Date of hire:    q 17 I IL/                             SS# : xxx-xx
                                                                   (last 'bur digits only)
                                                                                                     Store           tOCI


Circle one:                 Termination

A. Reason(s) for notice (check applicable reasons and explain in section B):
1. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
2. (4 Tardiness                                            5. ( ) Violation of company rules
3. ( ) Improper conduct                                    6. ( ) Other




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
witness(es), rule violated, etc; refer to an previous verbal and/or written
warning(s).)                                             REDACTED         pets 6et            I                  ken,-
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C. Describe the Company's ex ectations of asso5iate:
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ocwre,l,j- Till fr/ilieitAP44           i 1/1          in e 4( i Le.)    a    d      191A,Vic+1A_ i'Vit;.


D. Next disciplinary step: Coy) 1/11kk                                                                           YlAr        a+ttlii     Vid 11G49
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                                                                                              REDACTED

 L' anager's Name
i1ii                                          Manager's Name              Date                  Associat 's Si hfure Date
                                                                                                (This signa     indicates that
                                                                                                associate is aware of this notice.)

Manager's Signature           Date            Manager's Signature Date

                                                                                                                                   \k1
(Once completed and signed, file in associate's personnel file.)
                                                                                                            FIR 026A II /11
              Case: 1:17-cv-05124 Document #: 60 Filed: 12/20/17 Page 6 of 15 PageID #:1131


                                                      ASSOCIATE DISCIPLINARY NOTICE
                            REDACTED
Associate's Name                                                                                   Date: (3                 / lS

Date of hire: (1 (7/i I-4                                                 SS# : xxx-xx                                                 Store #:
                                                                                (lastfour digits only)

Circle one:                   Termination                                                          Warning

A. Reason(s) for notice (check applicable reasons and explain in section B):
I. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
2. (\4. Tardiness                                          5. ( ) Violation of company rules
3. ( ) Improper conduct                                    6. ( ) Other




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
witness(es), rule violated, etc; refer to y previous verbal and/or written
warning(s).)            1.4 topl 9 C, 7/5 REDACTED k c bo na lato
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 G   tAiit c--e)



C. Describe the Company's expectations of associateREDACTED                                                                                          /LA                        grai
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D. Next disciplinary step: C 0-41rkv, et,t1c,KN                                     A-AAA...,      oy.                of A,/ (A-t-eiy
0_,,eyy\ pq A,1,1 6 4.et)_./ 26A-tc.. al        f                             ip,                          elt                         A1            (A,t1    4 -0

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                                                                                                                    REDACTED
                                                                                                                                                                                X( z \6
Manager's Name                  D t                       Manager's Name                          Date                      Assst i       iinalare
                                                                                                                            (Th. si ature indicates that
                                                                                                                                 iate is aware of this notice.)

     ana, r's igna r                                     Manager's Signature Date


(Once completed and signed, file in associate's personnel tile.)
                                                                                                                                         1-11Z 026A 11/1 1
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                      EXHIBIT 2
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   BED BATH &                             REDACTED
                                                                                                  MERCHANDISING / STOCK (Page I of 2)
   BEIFONIEW
   Beyond any sore of its kind!   Name                                       Store #:                    Date of review:       H5. I S
                                                              Circle review type & Indicate Date Due:
                   AY REVIEW DUE:                                                                 OTHER (                     Review) due:
                A NUAL REVIEW DUE:
                DATE OF HIRE:
Tuts PERFORMANCE REVIEW IS REIN P                                                         FROM THE I.        LOWING MANAGER&

l'rinted Name                      -CO            Signature                                   Position        + L'74   )(-)     1 - 14-1-tkttel
Printed Name     -90              e<-T--) / / 1   Signature                                   Position

Pruned Name                                       Signature                                   Position
Printed Name_                                     Signature                                   Position
Printed Name                                      Signature                                   Position
Pinned Name                                       Si at=                                      Position
                 K t : E - Excellent, V - Very Good,                     - Good,             eeds Improvement,                  - Unacceptable
                                                                                                                                                 Choose one rating
(Draw a line through any dll which 0521)1                                                                                                    E           es)       U
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.
* Ensures a prompt, friendly approach to all customers.
* Escorts customers seeking location(s) of specific merchandise.
* Is alert to customer needs and offers a cart whenever appropriate.
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.
* Complies with Bridal and Gift Registry program standards when servicing both registrants
  and guests.
  Determines customer needs and works to add-on sell.
* Has developed good product knowledge; keeps, abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                                        E           G     N
* Answers the phone promptly and uses proper phone etiquette.                                                                                E     V           N   U
TEAM SKILLS

* Demonstrates initiative and completes projects in a timely manner.                                                                         EeGN
* Accepts constructive criticism and acts upon it.                                                                                           E     V           N   U
* Maintains a positive outlook toward job.                                                                                                   •           G     N   U
• Communicates effectively with Management and other associates.                                                                             •           G     N   U
• Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                                          E     V     G 01
• Is a team player.                                                                                                                          E     V     G N       U
* Exhibits professional manner, dress and appearance at all times.                                                                           E     V           N   U

MERCHANDISING & DEPARTMENT MAINTENANCE
                                                                                                                                             E     V&N             U
* Works to maintain selling floor standards and recovery of the department.
* Is aware of product sell through and completes pull lists.                                                                                 B     V G         N

* Demonstrates good product knowledge and uses the information to merchandise the
  selling floor effectively.
                                                                                                                                             E     V           N   U
                                                                                                                                           E       V           N   U
* Understands and utilizes JDA to resolve selling floor inquiries.
                                                                                                                                           E       V           N   U
* Adheres to shortage reduction and compliance procedures.
                                                                                                                                           E       V 0         N   U
* Safely handles equipment and maintains safety awareness.



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                                                                                         MERCHANDISING / STOCK (Page 2 of 2)

1. ATTENDANCE & PUNCTUALITY:                                                          Acceptable                  Not Acceptable

2. GOALS AND OBJECTIVES
Objectives Accomplished
List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
coals established at previous review or during e pe • d.
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                             4-c   A •NAA 441 .'
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                                                                                                   4

   5et
 Unaccomplished Objectives
List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
defined in previous review or during the period.




 Goals and Objectives for next Review Period:
 Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
 objective indicate how accomplishment of goal/objective will be me ured and indicate tarI et date for accomplishments          ,
REDACTED                    •, )• e1)                                               IN1004:            1Y--e    rfrAkA.0        c'N 4-0 ov
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 Strengths and Weaknesses:\r ,t,-,c_'. ' c 1Ock-i- 4,          It
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Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
addressed elsewhere in this review.
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                 tucbt                                                                                                      r   Circle anvating
3.1i)VERILL RATING FOR PERIOD                                                                                                   E V         NU


Date of Review:         \                                                                A


Reviewed associate's signature after review conference:
                                                                                  REDACTED
                                                                                                                                                   %c-
                                                                                                                                                   Ate



Reviewer's signature after review conference:
                                                                                          attire                                                  Date

                                                                                                          CLJ                          HC -   15
                                                                                      Reviewer's Printed Name                                     Date




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                                                 REDACTED                                                    MERCHANDISING / STOCK (Page 1 of 2)
          ED B                   &
          isrirobitioATH
          Beyond any siva of its kind:
                                         Name:                                        Store #:              /1 Date of review:1--       15
                                                                                                                                       /'
                                                                      _Circle review type & Indicate Date Due:
                      90 DAY REVIEW DUE:               2                                                      OTHER(             Review) due:
                     ANNUAL REVIEW DUE:
                     DATE OF HIRE:                             J -/ c I
      Tuts PERFORIVA       'CE REVIEW IS      ING PREP RED B          D/OR A RES LT OF          UT F •         HE RN OWING MANAGERS:
                                                     '
      Printed Name                                     ignatur                                            Position

      Printed Name                                        Signatu                                         Position      /   11

      Printed Name                                        Signature                                       Position

      Printed Name                                        Signature                                       Position

      Printed Name                                        Signature                                       Position

      Printed Name                   _                    Signature__...          _                       Position
                        KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
                                                                                                                                                 Choose one rating
      (Draw a line through any skill which isn't applicable.)                                                                                   E V G N U
      CUSTOMER SERVICE SKILLS
      *   Understands that the customer is our main priority and consistently maintains a customer focus.                                       E   V G&U
      *   Ensures a prompt, friendly approach to all customers.                                                                                 E   V  N
      *   Escorts customers seeking location(s) of specific merchandise.                                                                        E   V  N U
      *   Is alert to customer needs and offers a cart whenever appropriate.                                                                    E   VON   U
      *   Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                      E   V   N U
      *   Complies with Bridal and Gift Registry program standards when servicing both registrants
          and guests.                                                                                                                           E   V GOU
                                                                       5   $4.4            61104         .4 1•1
                                                                                                              71H
      " Determines customer needs and works to add-on sell.                                                                                     E   V GC9 U
      * Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
        to enhance service.                                                                                                                     E   V G 6)13
      • Answers the phone promptly and uses proper phone etiquette.                                                                             E   V      N   U

      TEAM SKILLS

 -    * Demonstrates initiative and completes projects in a timely manner.                                                                      E   V G
 -    *   Accepts constructive criticism and acts upon it.                                                                                      E   V GUyIJU
      * Maintains a positive outlook toward job.                                                                                                E   VON        U
      * Communicates effectively with Management and other associates.                                                                          E   VON        U
 3    * Works the schedule set by the Manager but demonstrates flexibility when needs of the
        business dictate.                                                                                                                       F   V G
      * Is a team player.                                                                                                                       E   V     N U
 D
      • Exhibits professional manner, dress and appearance at all times.                                                                                  N U

      MERCHANDISING & DEPARTMENT MAINTENANCE
Rt    * Works to maintain selling floor standards and recovery of the department.                                                               E   V GGU
      * Is aware of product sell through and completes pull lists.                                                                              E   VG         U
      * Demonstrates good product knowledge and uses the information to merchandise the
        selling floor effectively.                                                                                                              E   V
Re'   * Understands and utilizes JDA to resolve selling floor inquiries.                                                                        E   V GO U
      * Adheres to shortage reduction and compliance procedures.                                                                                F   V ID N U
      " Safely handles equipment and maintains safety awareness.                                                                                E   V    NU



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   3D 3ATH                             REDACTED
                                                                                                    MERCHANDISING / STOCK (Page 1 of 2)

   BEYONIC)
   Beyond any store of its kind:   Name:      t                               Store #:                     Date of review:
                                                               Circle review type & Indicate Date Due:
                90 DAY REVIEW DUE:                                                                  OTHER                    Review) due:
               ANNUAL REVIEW DUE:
               DATE OF HIRE:
THIS PERFORMANCE REVIEW I REIN                                  /OR A REM; 0             IT ROM THE FOLLOWING MANAGERS:

Printed Name                                                                                   l'osition    lyi(V)
Printed Name                                       Signature          u                        Position

Printed Name                                       Signature                                   Position

Primed Name                                        Signature                                   Position

Printed Name                                       Signature                                   Position

Printed Name                                      Signature                                    Position
                 KEY: E - Excellent, V - Very Good, G - Good, N - Needs Improvement, U - Unacceptable
                                                                                                                                             Choose one4ating
(Draw a line through any skill which isn't applicable.)                                                                                     E V G (1  .10) U
CUSTOMER SERVICE SKILLS
* Understands that the customer is our main priority and consistently maintains a customer focus.
* Ensures a prompt, friendly approach to all customers.                                                                                     E
* Escorts customers seeking location(s) of specific merchandise.                                                                            E   V      N   U
* Is alert to customer needs and offers a cart whenever appropriate.                                                                        E   V G
* Responds quickly to customer inquiries and "Passes the Buck" whenever necessary.                                                          E   V
* Complies-v,                                  regram-stand               n servicin:; both
  jutd-guests.
* Determines customer needs and works to add-on sell.                                                                                       E V
* Has developed good product knowledge; keeps abreast of new items and utilizes this knowledge
  to enhance service.                                                                                                                       E   V GOU
* Answers the phone promptly and uses proper phone etiquette.                                                                               E   V (:) N    U

TEAM SKILLS

* Demonstrates initiative and completes projects in a timely manner.                                                                        E   V G0       U
* Accepts constructive criticism and acts upon it.                                                                                          E   V6    N    U
* Maintains a positive outlook toward job.                                                                                                  E   V ON       U
* Communicates effectively with Management and other associates.                                                                            E   V G0       U
* Works the schedule set by the Manager but demonstrates flexibility when needs of the
  business dictate.                                                                                                                         E   V (;) N    U
* Is a team player.                                                                                                                         E   V 0 N      U
* Exhibits professional manner, dress and appearance at all times.                                                                          E   VON        U
MERCHANDISING & DEPARTMENT MAINTENANCE
* Works to maintain selling floor standards and recovery of the department.                                                                 E   V G
* Is aware of product sell through and completes pull lists.                                                                                E   V G
* Demonstrates good product knowledge and uses the information to merchandise the
  selling floor effectively.                                                                                                                E   V G6       U
* Understands and utilizes JDA to resolve selling floor inquiries.                                                                          E   V G (19) U
* Adheres-to-shortfigezecli irtinri and comp)iance—proce-drret s.
* Safely handles equipment and maintains safety awareness.                                                                              E       VON        U



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                                                                                           MERCHANDISING / STOCK (Page 2 of 2)

   1. ATTENDANCE & PUNCTUALITY:                                                        Acceptable                  Not Acceptable

   2. GOALS AND OBJECTIVES
   Objectives Accomplished
   List the specific goals and objectives accomplished by the associate during the appraisal period, compared with the results expected from
   goals established at previous review ir,r uring the period.




   Unaccomplished Objectives
   List the specific goals and objectives not accomplished by the associate during the appraisal period, compared with the expected results as
   defined in previous review o duri g the period.
                                       t
   Goals and Objectives for next Review Period:
   Identify 2-3 quantitative and/or qualitative goals or objectives the associate should focus on during the next review period. (For each goal or
    h;""`" 4 ; " ;^' *' 1,-.. /accomplishment of goal/objectiv will be measured and indicate arget date for accomplish ents.)
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     C.xt V I                      , AiLt.
   -1-e) 12,-L,'UCsAid     ri-VA             CA.l_c-5 4-(AvNII.N.--0, •



   Strengths and Weaknesses:
  Describe any of the associate's strengths or weaknesses which you feel are materially related to their performance and which are not
  addressed elsewhere in this review.
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REDACTED                 1
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           tttA44-t,t,                                                     I.                                                Circle    :10
                                                                                                                                        ;
  3. OVERALL RATING FOR PERIOD                                                                                                E


   Date of Review:                                                            REDACTED



   Reviewed associate's signature after review conference:                                                                               QL 2 LI IS
                                                                                                                                               Date



  Reviewer's signature after review conference:                                                               r.
                                                                                                              e-
                                                                                      -Si nature                                               Date



                                                                                       Re le ver's Printed Name
                                                                                                                   z19.‘7,v-                     Date



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                       EXHIBIT 3
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         BED BATH &                                           HET', VALUES'                                               cehrisi
                                                                                                                            Treeshops'
         BEYOND
         Beyond any store of its kind:

 ASSOCIATE SEPARATION FORM (Use this form whenever an associate resigns or is terminated)
            1. Complete and review sections 1-11 below                                                2. Ensure that separating associate reads section 10 and signs as indicated
            3. Review and confirm all hours; change status in Time & Attendance                       4, If applicable, submit final pay request to Corporate Payroll
            5. CT, GA, LA, MA, NJ, NM, NY and TN:                                                     6. Notify Talx/IIC Express via WebSep
                      Process your STATE'S'SEPARAT1ON NOTICE


 1. NAME: Johnny Mitchell                                                    SOCIAL SECURITY #R EDACT                                                    STORE # 1094
• 2. JOB CLASSIFICATION (check one):'                                          Part Time                                     Full Time            XX                  Mgmt
                                                                   (Less than 35 hrs per wk)                  (35 or more hrs per wit)
 3. START DATE: 2/23/10                                  LAST DAY WORKED: 8/20/15                                     SEPARATION DATE: 8/20/15
                                                       (this date represents the last day the associate                (see ** at bottom of form for situations where SEPARATION
                                                  .                 physically worked)                                             DATE differs from LAST DAY WORKED)
 4. REASON FOR LEAVING - Check all that apply:
 RESIGNATION/VOLUNTARY:                     TERMINATION/INVOLUNTARY:     TALX/UCEXPRESS CODE USED:
     Better Job Opportunity                       Job Elimination          4800 — violation of company policy
     Return To School                          _Poor Performance
     Medical                                   X Misconduct          X SEPARATION PROCESSED THRU WEB SEP
     Job Abandonment                              Other                  (Check box once completed)
     Scheduled Work Hours GI too many / D too few
     Other (Give specific reason)
 5. COMPANY PROPERTY RETURNED - Check all that apply:                                                        6. BENEFITS — Check, if applicable:
        ys (store, terminals, thermostats)                                                                      X Associate informed of COBRA
    _Alarm, telephone and computer access codes erased
    _Associate loans repaid in full
      Name Badge
      Other
 7. FINAL PAY - Check all that apply:                                                                        8. CURRENT ADDRESS:
    na    Vacation/Floating Holiday/Comp. day adjustment made
       in Time & Attendance                                                                                  Address 4570 Manor Creek Drive
        Indicate plus or minus days for vacation adjustment:
        Indicate Floating Hol/Comp. days owed (if applicable)
       Associate/Employer agree on final check:
       Based on 8 days worked for salaried associates                                                        City          Cumming
       Based on _hours worked for hourly associates
       Associate received final check today in the amount of $
       If applicable, associate loan paperwork forwarded to payroll                                          State        GA                    Zip Code          30040
          sociate will return to store to pick up check on
          applicable, final paycheck mailed to Address noted in #8
 9.. USE BACK SIDE OF THIS FORM FOR ASSOCIATE COMMENTS, IF ANY.
 10. Separating associate is to read this section before signing form:
     to An adjustment may be made to your final paycheck for any vacation time you had taken but not yet accrued, or that you had accrued but not yet
           taken. Any such adjustment is set forth above in Section 7.
     • As you leave us, we wanted to remind you of your continuing obligation not to disclose to anyone any confidential business and/or proprietary
           information regar      ed Bath & Beyond and its operations. Please also make sure you have returned all documents and other items such as
           records, computer f        puter disks, manuals and notes relating or belonging to the company. You may not take any such materials with you.
           These things are im       to the company, as you ay tern ber from your associate handbook, and that is why your obligation of conf dentiality
           continues even afte      eve employment with
     I fully understand the inf     on that I read in Section 10.                    that I did not understand, I have asked for an exp
     Associate's Signature.                                                                                                                                     Date
 11. Supervisor's Sign                                                                                                                                          Date
     Store Manager's/Co                 ounterpart's                  e:                                                                                        Date        -b• 2011,5—
** EXAMPLES OF SEP                      ION DATE DIFFERING F                   M LAST              'WORKED;
     o     The last Day Worked was actually different from the resignation/termination daht.
     o     Job Abandonment: when an associate is absent from work & does not notify the store for a specific) period of time; separation date is the date that the decision was made to separate
           employment.
     o     Failure to return from LOA/WC: the separation date is the date that the associate was seltechilad to return from an approved LOA or WC leave.
     o     Failure to return from vacation: the separation date is the date in which the associate was scheduled to return from an approved vacation.
                                                                                                               HR 043-1A & 1B —2/99; 6/01; 5/02; 5/04; 8/04; 2/08; 3/10; 2/11; rev 5/12
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                                           ASSOCIATE DISCIPLINARY NOTICE

Associate's Name: Johnny Mitchell                                         Date: 8/20/15

Date of hire: 2/23/10                                                SS# : moc-xx-9742            Store #: 1094
                                                                   (lastfour digits ?lily)

Circle one:                 'fermination                                   Warning

A. Reason(s) for notice (check applicable reasons anciexplain in section B):
1. ( ) Absence (indicate if unreported, excessive, etc.)   4. ( ) Failure to follow directions
2. ( ) Tardiness                                           5. (X) Violation of company rules
3. (X) Improper conduct                                    6. (X) Other - theft




B. Facts leading to the discipline (Be specific, stating detailed explanation of incident, date/time of incident,
witness(es), rule violated, etc; refer to any previous verbal and/or written
warning(s).)
On multiple occasions since January 2015, Johnny Mitchell has created fraudulent returns for his own personal
and financial gain. In addition he took cash from a customer's wallet that was left in the safe. The total amount
is $4500. His actions violate Bed Bath and Beyonds policies, procedures and standards and amount to Gross
Misconduct. Johnny's employment with BBBY has ended effective immediately.



C. Describe the Company's expectations of associate:




D. Next disciplinary step:




                                                            ztv-cic
Manager's Mine                Date            Manager's y ame             Date               sotiate's-Si
                                                                                              is signature ndicates tha
                                                                                             ociate is aw e of this not' e.
                                                                             7VIC
Manager's Si ature            Date                         Signature Date

(Once completed and signed, file in associate's personnel file.)
                                                                                                 HR 026A 11/11
